 Case:17-03283-LTS Doc#:12998-4 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 28 -Commonwealth Audited Financial Statement as of June 30 2013 Page 1 of 6




                             EXHIBIT 28
 Case:17-03283-LTS Doc#:12998-4 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 28 -Commonwealth Audited Financial Statement as of June 30 2013 Page 2 of 6




                    COMMONWEALTH OF PUERTO RICO
                             Basic Financial Statements

                      and Required Supplementary Information

                                   June 30, 2013

                    (With Independent Auditors’ Report Thereon)
 Case:17-03283-LTS Doc#:12998-4 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 28 -Commonwealth Audited Financial Statement as of June 30 2013 Page 3 of 6



                                  COMMONWEALTH OF PUERTO RICO


                                               Table of Contents



                                                                                              Page

Independent Auditors’ Report                                                                  1–5

Management’s Discussion and Analysis (Unaudited)                                               6-20

Basic Financial Statements:

   Government-Wide Financial Statements:

      Statement of Net Position                                                               21-22

      Statement of Activities                                                                 23-24

   Fund Financial Statements:

      Governmental Funds:

         Balance Sheet                                                                          25

         Reconciliation of the Balance Sheet of Governmental Funds to the Statement of Net
         Position                                                                               26

         Statement of Revenues, Expenditures, and Changes in Fund Balances (Deficit)            27

         Reconciliation of the Statement of Revenues, Expenditures, and Changes in Fund
         Balances (Deficit) of Governmental Funds to the Statement of Activities                28

      Proprietary Funds:

         Statement of Net Position                                                              29

         Statement of Revenues, Expenses, and Changes in Fund Net Position (Deficit)            30

         Statement of Cash Flows                                                              31-32

      Fiduciary Funds:

         Statement of Fiduciary Net Position                                                    33

         Statement of Changes in Fiduciary Net Position – Pension Trust Funds                   34

   Major Discretely Presented Component Units:

      Combining Statement of Net Position                                                     35-36

      Combining Statement of Activities                                                         37

   Notes to Basic Financial Statements                                                       38-241
 Case:17-03283-LTS Doc#:12998-4 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 28 -Commonwealth Audited Financial Statement as of June 30 2013 Page 4 of 6




                                 COMMONWEALTH OF PUERTO RICO

                                            Table of Contents

                                                                                             Page

Required Supplementary Information (Unaudited)

   Schedule of Funding Progress – Defined Benefit Pension Plans                              243

   Schedule of Funding Progress – Defined Benefit Postemployment Healthcare Plans            244

   Schedule of Employer’s Contributions                                                      245

   Schedule of Revenues and Expenditures – Budget and Actual – Budgetary Basis –General
   Fund                                                                                      246

   Notes to Required Supplementary Information                                            247-250

Combining and Individual Fund Financial Statements and Schedules

   General Fund:

      Supplemental Schedule of Expenditures by Agency – Budget and Actual – Budgetary
        Basis                                                                             253-255

   Nonmajor Governmental Funds:

      Combining Balance Sheet                                                                258

      Combining Statement of Revenues, Expenditures, and Changes in Fund Balances            259

   Nonmajor Proprietary Funds:

      Combining Statement of Net Position                                                    261

      Combining Statement of Revenues, Expenses, and Changes in Net Position                 262

      Combining Statement of Cash Flows                                                      263

   Fiduciary Funds:

      Combining Statement of Fiduciary Net Position – Pension Trust Funds                    266

      Combining Statement of Changes in Fiduciary Net Position – Pension (and other
        employee benefit) Trust Funds                                                        267

      Combining Statement of Changes in Assets and Liabilities – Agency Funds                268

   Nonmajor Discretely Presented Component Units:

      Combining Statement of Net Position                                                 270-276

      Combining Statement of Activities                                                      277
 Case:17-03283-LTS Doc#:12998-4 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 28 -Commonwealth Audited Financial Statement as of June 30 2013 Page 5 of 6


                                  COMMONWEALTH OF PUERTO RICO
                                       Notes to Basic Financial Statements
                                                  June 30, 2013



(8)   Pledges of Receivables and Future Revenues
      The Commonwealth has pledged the first two point seventy-five (2.75%) percent of the sales and use tax
      for the repayment of certain outstanding obligations of the Commonwealth. During 2013, COFINA, a
      blended component unit of the Commonwealth, responsible for the financing, payments and retirement of
      certain debt obligations of the Commonwealth, has issued bond anticipation notes for approximately
      $333.3 million payable on September 30, 2014. The Commonwealth has committed to appropriate each
      year, from the sales and use tax, amounts sufficient to cover the principal and interest requirements on the
      debt issued by COFINA. COFINA has pledged as the sole security for the bonds, the annual appropriations
      from the Commonwealth. Total principal and interest remaining on the secured debt is $35.5 billion and
      $17.7 billion, respectively. The pledged sale and use tax base amount for the fiscal year ended June 30,
      2013 amounted to approximately $619 million. For fiscal year 2013, interest paid by COFINA amounted
      approximately to $643 million and issuance costs of approximately $600 thousands on the aforementioned
      bond anticipation notes issued. Sales and use tax revenue recognized by the Commonwealth was
      approximately $543 million.

      Rum manufactured in Puerto Rico is subject to federal excise taxes; however, these are returned by the
      U.S. Internal Revenue Service (IRS) to the Commonwealth. Act No. 44, as amended, requires that in each
      fiscal year through fiscal year 2057, the first $117 million, of certain federal excise taxes received by the
      Commonwealth be transferred to the Puerto Rico Infrastructure Financing Authority (PRIFA), a blended
      component unit of the Commonwealth. Such taxes consist of the federal excise taxes levied on rum and
      other articles produced in Puerto Rico and sold in the United States, which taxes are collected by the
      U.S. Treasury and returned to the Commonwealth. The Commonwealth has pledged these taxes for the
      repayment of PRIFA’s Special Tax Revenue Bonds (the Bonds). The Commonwealth has committed to
      appropriate each year, from the excise taxes, amounts sufficient to cover the principal and interest
      requirements on the debt issued by PRIFA. PRIFA has pledged as the sole security for the bonds, the
      annual appropriations from the Commonwealth. The federal excise taxes securing the Bonds are subject to
      a number of factors, including the continued imposition and remittance of such taxes to the
      Commonwealth and conditions affecting the Puerto Rico rum industry. The level of federal excise taxes to
      be received by the Commonwealth is currently expected to decrease, although the exact amount cannot be
      determined. If the federal excise taxes received by the Commonwealth in any fiscal year are insufficient,
      Act No. 44 requires that PRIFA request and the Director of the Office of Management and Budget of the
      Commonwealth include in the budget of the Commonwealth for the corresponding fiscal year, an
      appropriation necessary to cover such deficiency. The Commonwealth’s Legislature, however, is not
      obligated to make the necessary appropriation to cover such deficiency. Total principal and interest
      remaining on the secured debt is $2.5 billion and $1.3 billion, respectively. For the year ended June 30,
      2013, of the total of $117 million received by PRIFA from the Commonwealth, a total of $113 million was
      pledged for the debt service of the Special Tax Revenue Bonds. For fiscal year 2013, principal and interest
      paid on Special Tax Revenue Bonds by PRIFA amounted to $112.1 million.

      Also, the Commonwealth has pledged part of the gross receipts of the gasoline excise taxes and one half of
      the diesel oil excise taxes (up to $11 million monthly but no more than $120 million annually) derived
      from excise taxes over crude oil and its derivatives and $15 per vehicle per year from motor vehicle license
      fees for the repayment of the PRHTA Revenue Bonds. On June 25, 2013, as described in note 7, the
      Commonwealth enacted Act No. 31, amending the aforementioned gasoline excise tax rates and
      distributions, and eliminating the $120 million ceiling; therefore providing additional sources for the

                                                   122                                             (Continued)
 Case:17-03283-LTS Doc#:12998-4 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 28 -Commonwealth Audited Financial Statement as of June 30 2013 Page 6 of 6


                                  COMMONWEALTH OF PUERTO RICO
                                                  General Fund
                                            Year ended June 30, 2013



Special Revenue Funds
Special revenue funds are used to account for and report the proceeds of specific revenue sources that are
restricted or committed to expenditure for specified purposes other than debt service or capital projects. Other
resources (investment earnings and transfers from other funds, for example) also may be reported in the fund if
those resources are restricted, committed, or assigned to the specified purpose of the fund.

Public Buildings Authority Special Revenue Fund – The operating fund of the Public Buildings Authority, a
blended component unit, used to account for the operation, maintenance, equipment replacement, and other
extraordinary operation and maintenance costs of the buildings and facilities that, when constructed, are leased to
the Commonwealth’s primary government agencies.

The Children’s Trust Special Revenue Fund – The special revenue fund of the Children’s Trust, a blended
component unit, is used to account for the money received by the Commonwealth from a global settlement
agreement dated November 23, 1998 between certain tobacco companies and certain states, territories, and other
jurisdictions of the United State of America, including the Commonwealth. The financial resources received by
this fund are used to carry out projects aimed at promoting the well-being of children and youth of Puerto Rico.

Puerto Rico Infrastructure Financing Authority’s Special Revenue Fund – The special revenue fund of the
Puerto Rico Infrastructure Financing Authority, a blended component unit, is used to account principally for the
moneys received by the Commonwealth, up to $117 million, of certain federal excise taxes levied on rum and
other articles produced in Puerto Rico and sold in the Unites States, which are collected by the US Treasury and
returned to the Commonwealth. Under Act No. 44 of June 21, 1988, as amended, the Commonwealth transfers
to this fund the first $117 million of these federal excise taxes reimbursed, which are subsequently transferred to
the Puerto Rico Infrastructure Financing Authority’s Debt Service Fund to provide for the debt service of its
special tax revenue bonds. This special revenue fund also receives ARRA funds for the weatherization program
aimed at converting certain government buildings into eco-friendly locations.

Special Communities Perpetual Trust’s Special Revenue Fund – The special revenue fund of the Special
Communities Perpetual Trust, a blended component unit, is used to account for the moneys received from the
Governmental Development Bank, through a line of credit financing and cash contributions, upon inception of
the Special Communities Perpetual Trust. The financial resources received by this fund are used to carry out
development projects that address the infrastructure and housing needs of certain underpriviledged communities.

Debt Service Funds
The debt service funds are used to account for and report financial resources that are restricted, committed, or
assigned to expenditure for principal and interest, and related costs other than bonds payable from operations of
proprietary fund types, pension trust funds, and discretely presented component units. Long-term debt and
interest due on July 1 of the following year are accounted for as a fund liability if resources are available as of
June 30 for its payment.

The Children’s Trust Debt Service Fund – The debt service fund of The Children’s Trust accounts for the
financial resources that are restricted, committed, or assigned to expenditure for the payment of interest and
principal on long-term obligations financed with moneys to be received by the Commonwealth from the global
settlement agreement signed by certain tobacco companies.



                                                       256                                             (Continued)
